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                 In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                              No. 13-114V
                                          (Not to be published)

*****************************
                            *
LISA KELLEY,                *                                             Filed: October 30, 2014
                            *
                Petitioner, *
                            *                                             Decision by Stipulation; Damages;
          v.                *                                             Attorneys’ Fees and Costs;
                            *                                             Influenza (“Flu”) Vaccine;
SECRETARY OF HEALTH AND     *                                             Transverse Myelitis (“TM”)
HUMAN SERVICES,             *
                            *
                Respondent. *
                            *
*****************************

Danielle Strait, Maglio Christopher and Toale, Washington, D.C., for Petitioner.

Alexis Babcock, U.S. Dep’t of Justice, Washington, D.C., for Respondent.

      DECISION AWARDING DAMAGES AND ATTORNEYS’ FEES AND COSTS1

        On February 12, 2013, Lisa Kelley filed a petition seeking compensation under the
National Vaccine Injury Compensation Program.2 Petitioner alleges that as a result of receiving
the influenza (“flu”) vaccine on October 11, 2011 she suffered from Transverse Myelitis (“TM”)
and that she experienced the residual effects of this injury for more than six months.

       Respondent denies that Petitioner’s TM was caused-in-fact by her influenza vaccination,
and denies that the vaccine caused any other injury or her current condition. Nonetheless both

1
  Because this ruling contains a reasoned explanation for my action in this case, it will be posted on the website of
the United States Court of Federal Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347,
§ 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by 42 U.S.C. §
300aa-12(d)(4)(B), however, the parties may object to the inclusion of certain kinds of confidential information. To
do so, Vaccine Rule 18(b) provides that each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in substance and is
privileged or confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute
a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the ruling will be available to the public.
Id.
2
  The National Vaccine Injury Compensation Program comprises Part 2 of the National Childhood Vaccine Injury
Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755 (codified as amended, 42 U.S.C.A. ' 300aa-10 – 34 (2006))
[hereinafter “Vaccine Act” or “the Act”]. Individual sections references hereafter will be to ' 300aa of the Act.
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parties, while maintaining their above-stated positions, agreed in a stipulation (filed October 30,
2014) that the issues before them can be settled and that a decision should be entered awarding
Petitioner compensation.

         In the same stipulation, the parties indicated that they had also reached an agreement
regarding attorneys’ fees and costs. The stipulation laid out the amount of compensation that
should be awarded to Petitioner’s attorney in a check made payable jointly to Petitioner and
Petitioner’s counsel. In compliance with General Order #9, it also indicated that no out-of-pocket
litigation related costs had been incurred by Petitioner in proceeding on the petition.

        I have reviewed the file, and based upon that review, I conclude that the parties’
stipulation is reasonable. I therefore adopt it as my decision in awarding damages, and attorneys’
fees and costs, on the terms set forth therein.

        The stipulation awards:

                  A lump sum of $10,000.00 in the form of a check payable to Petitioner. The
                   amount represents compensation for all damages that would be available under
                   42 U.S.C. § 300aa-15(a).

                  A lump sum of $21,500.00 in the form of a check payable jointly to Petitioner
                   and Petitioner’s attorney, for attorneys’ fees and costs available under 42 U.S.C.
                   § 300aa-15(e).

Stipulation ¶ 8.

        I approve a Vaccine Program award in the requested amounts set forth above to be made
to Petitioner. In the absence of a motion for review filed pursuant to RCFC Appendix B, the
clerk of the court is directed to enter judgment herewith.3


        IT IS SO ORDERED.

                                                                /s/ Brian H. Corcoran
                                                                   Brian H. Corcoran
                                                                   Special Master




3
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by each filing (either jointly or
separately) a notice renouncing their right to seek review.

                                                      2
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